Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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                       Exhibit A
                                  Note
(Page 2 of 76)   Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 3 of 76)   Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 5 of 76)   Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 6 of 76)   Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 7 of 76)   Case 15-24733-JNP   Doc 8-2    Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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                       Exhibit B
                         Mortgage
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(Page 28 of 76)   Case 15-24733-JNP   Doc 8-2 Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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                       Exhibit C
       Assignment of Mortgage
(Page 1 of 3)   Case 15-24733-JNP   Doc 8-2 Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 2 of 3)   Case 15-24733-JNP   Doc 8-2 Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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(Page 3 of 3)   Case 15-24733-JNP   Doc 8-2 Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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Case 15-24733-JNP   Doc 8-2 Filed 09/18/15 Entered 09/18/15 09:28:49   Desc
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                      Exhibit D
                         Schedules
                                                                               Case
                                                                                 Case
                                                                     B6A (Official Form 15-24733-JNP
                                                                                          15-24733-JNP
                                                                                        6A) (12/07)                     Doc
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                                                                                                                                                      ofof
                                                                                                                                                         3956
                                                                     IN RE Rallo, Daniel G. & Rallo, Carmen                                                                                  Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     1003 Carlisle Rd                                                                                                          W                             163,000.00               233,570.54
                                                                     Egg Harbor Twp, NJ
                                                                     58 Lacosta Dr                                                                                                                J                          219,000.00               211,362.57
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                                                                     Egg Harbor Township, NJ 08234-5839
                                                                     219000 - 21900 = 197100 - 203549 = negative equity
                                                                     600 2nd St                                                                                                                   J                          188,000.00               258,077.95
                                                                     Somers Point, NJ
                                                                     (duplex)
                                                                     (Husband and a Patrick Lento)
                                                                     714 CooperFerry Ct                                                                                                           J                          154,000.00               191,271.43
                                                                     Galloway, NJ




                                                                                                                                                                                      TOTAL                                  724,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                               Case
                                                                                 Case
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                                                                                          15-24733-JNP
                                                                                        6D) (12/07)                     Doc
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                                                                                                                                                      ofof
                                                                                                                                                         3956
                                                                     IN RE Rallo, Daniel G. & Rallo, Carmen                                                                                                      Case No.
                                                                                                                                 Debtor(s)                                                                                                                                       (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                     UNLIQUIDATED
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                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                  AMOUNT OF




                                                                                                                                                                                                                                                    DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                               DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                          UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                     NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                        PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                                 COLLATERAL




                                                                     ACCOUNT NO. 1001                                                                              Purchase money security;                                                                          30,409.37
                                                                     Capital One Auto Finance                                                                      2013 Chevy Tahoe
                                                                     3905 Dallas Pkwy
                                                                     Plano, TX 75093-7892

                                                                                                                                                                   VALUE $ 30,409.37

                                                                     ACCOUNT NO. 5107                                                                              Mortgage;                                                                                       258,077.95                 70,077.95
                                                                     Nationstar Mortgage Llc                                                                       600 2nd St
                                                                     Attn: Bankruptcy                                                                              Somers Point, NJ
                                                                     350 Highland Dr
                                                                     Lewisville, TX 75067-4177
                                                                                                                                                                   VALUE $ 188,000.00
                                                                                                                                                                   Mortgage;                                                                                       128,112.43
                                                                     ACCOUNT NO. 0644                                                                              714 CooperFerry Ct
                                                                                                                                                                   Galloway, NJ
                                                                     Nationstar Mortgage Llc
                                                                     Attn: Bankruptcy
                                                                     350 Highland Dr
                                                                     Lewisville, TX 75067-4177
                                                                                                                                                                   VALUE $ 154,000.00

                                                                     ACCOUNT NO. 1560                                                                              Mortgage;                                                                                       233,570.54                 70,570.54
                                                                                                                                                                   1003 Carlisle Rd
                                                                     Pacific Union Financia                                                                        Egg Harbor Twp, NJ
                                                                     1603 Lbj Freeway, Suite 500                                                                   F02980914
                                                                     Farmers Branch, TX 75234

                                                                                                                                                                   VALUE $ 163,000.00
                                                                                                                                                                                                                        Subtotal
                                                                            1 continuation sheets attached                                                                                                  (Total of this page) $ 650,170.29 $ 140,648.49
                                                                                                                                                                                                                           Total
                                                                                                                                                                                                         (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                               (Report also on         (If applicable, report
                                                                                                                                                                                                                                                               Summary of              also on Statistical
                                                                                                                                                                                                                                                               Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                       Liabilities and Related
                                                                                                                                                                                                                                                                                       Data.)
                                                                               Case
                                                                                 Case
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                                                                                        6D) (12/07) - Cont.           Doc
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                                                                                                                                                    ofof
                                                                                                                                                       3956
                                                                     IN RE Rallo, Daniel G. & Rallo, Carmen                                                                                                    Case No.
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                          (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Powers Kirn, LLC                                                                            Pacific Union Financia
                                                                     728 Marne Highway, Ste 200
                                                                     Moorestown, NJ 08057

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                     Wells Fargo Bank                                                                            Pacific Union Financia
                                                                     PO Box 5058
                                                                     Portland, OR 97208-5058
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO. 3149                                                                            Purchase money security;                                                                        15,774.95
                                                                     Suntrust Bank                                                                               2013 Chevy Captiva
                                                                     Attn:Bankruptcy Dept
                                                                     1001 Semmes Ave Mc Va-Wmrk-7952
                                                                     Richmond, VA 23224
                                                                                                                                                                 VALUE $ 15,774.95
                                                                                                                                                                 Mortgage;                                                                                       63,159.00                37,271.43
                                                                     ACCOUNT NO. 7245                                                                            714 CooperFerry Ct
                                                                     Td Banknorth Mortgage                                                                       Galloway, NJ

                                                                     TD Bank NA-Attn: Bankruptcy Department
                                                                     PO Box 1377
                                                                     Lewiston, ME 04243-1377
                                                                                                                                                                 VALUE $ 154,000.00
                                                                                                                                                                 Mortgage;                                                                                     211,362.57
                                                                     ACCOUNT NO. 2924                                                                            58 Lacosta Dr
                                                                     Wachovia Mortgage/world Savings And Loan                                                    Egg Harbor Township, NJ 08234-5839

                                                                     Attn: Bankruptcy Dept.(T7419-015)
                                                                     PO Box 659558
                                                                     San Antonio, TX 78265-9558
                                                                                                                                                                 VALUE $ 219,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                    Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                         (Total of this page) $ 290,296.52 $                                             37,271.43
                                                                                                                                                                                                                         Total
                                                                                                                                                                                                       (Use only on last page) $ 940,466.81 $ 177,919.92
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
